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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                         )
                                                  )
               v.                                 )
                                                  )           Crim. No. 17-201 (ABJ/DAR)
PAUL J. MANAFORT, JR. and                         )
RICHARD W. GATES III,                             )
                                                  )
               Defendants.                        )

                                              ORDER

       Upon consideration of Defendant Richard W. Gates III’s Motion Seeking Permission to Leave

Home Confinement for Specific Family Activities on Saturday, November 11, 2017 and Sunday,

November 12, 2017, it is this ___ day of November, 2017, hereby

       ORDERED, that the motion is GRANTED.



                                              _____________________________________
                                              AMY BERMAN JACKSON
                                              UNITED STATES DISTRICT JUDGE
